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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

 UNITED STATES OF AMERICA            )
                                     )
 Plaintiff,                          )
                                     )
 vs.                                 )     CAUSE NO. 2:16-CR-174
                                     )
 VICTOR DAVIS,                       )
                                     )
 Defendant.                          )

                                    ORDER

       This matter is before the Court on the Amended Findings and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty by

 Defendant Victor Davis (DE #173) filed on August 22, 2017.                    No

 objections have been filed to Magistrate Judge Martin’s findings

 and recommendations upon a plea of guilty.         Accordingly, the Court

 now ADOPTS those findings and recommendations, ACCEPTS the guilty

 plea of Defendant Victor Davis, and FINDS the Defendant guilty of

 Count 1 of the Second Superseding Indictment.1

       This matter shall be set for sentencing via separate order.



 DATED: September 7, 2017                  /s/RUDY LOZANO, Judge
                                           United States District Court




       1
          The original Findings and Recommendation of the Magistrate Judge Upon
 a Plea of Guilty by Defendant Victor Davis (DE #165) is STRICKEN.
